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 2                                          KING COUNTY
                                       SUPERIOR COURT CLERK
 3                                             E-FILED
                                       CASE #: 20-2-17249-9 KNT
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 7
                    IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 8                           FOR KING COUNTY SEATTLE DIVISION

 9
     DALE BROWN,
10
                   Plaintiff,                              NO.
11   vs.
                                                           PLAINTIFF’S COMPLAINT FOR
12   CITY OF KENT, a municipal corporation, D.             PERSONAL INJURIES
     MCCUISTION, individually and in his
13   capacity as Commander of the Kent City Jail,
     and MR. WARD, individually and in his
14   capacity as Sergeant of the Kent City Jail, and
     JOHN/JANE DOES 1-XX,
15                Defendants.
16

17          COMES NOW the plaintiff DALE BROWN, by and through his attorneys of record, the
18
     Law Offices of Davis S. Roth, and states and alleges as follows:
19
                                         I. SUMMARY OF CLAIMS
20
            1.1      Dale Brown was a non-violent offender incarcerated at the Kent City Jail in the
21

22   autumn of 2018 due to an alleged violation of the terms of his probation. Prior to and during his

23   period of incarceration, various officers at the Kent City Jail, including defendants Sergeant

24   Ward and Commander McCuistion, knew or should have known that Dale Brown suffered from
25
     pre-existing and severe spinal injuries that made it unsafe for him to use the top level of a
26
                                                                                     Law Offices of
                                                                                   DAVID S. ROTH
                                                                                   2601 4th Ave, Ste 470
     PLAINTIFF’S COMPLAINT FOR DAMAGES                                              Seattle, WA 98121
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 1   bunkbed due to the potential falling hazard. In fact, Sergeant Ward was explicitly informed of

 2   this danger and explicitly assured Dale Brown’s daughter that Dale Brown would be assigned to
 3
     a bottom bunk. Notwithstanding these assurances, and having knowledge of Dale Brown’s
 4
     medical needs, Defendants negligently failed to provide Dale Brown with the reasonable medical
 5
     accommodation of assigning him to a bottom bunk and otherwise failed to make reasonable
 6
     medical accommodations for his pre-existing medical conditions.
 7

 8          1.2     As a direct consequence of being assigned to a top bunk which he could not safely

 9   get down from due to his pre-existing medical issues, and due to unreasonable rousting from
10   Kent City Jail staff to rapidly get off the top bunk, Dale Brown fell from the top bunk, slammed
11
     into the floor, and suffered serious personal injuries on or about November 23, 2018 including
12
     but not limited to acute encephalopathy and seizure.
13
            1.3     Mr. Brown was initially treated at Valley Medical Center before being taken back
14

15   to the Kent City Jail that same day. When Dale Brown returned to Kent City Jail, Defendants

16   placed him in an unsanitary isolation cell that Kent City used as an “infirmary” where he

17   remained for several days. The toilet in this cell was overflowing with sewage which the Kent
18   City Jail staff permitted to remain on the floor of Mr. Brown’s cell for prolonged periods. During
19
     this period, Mr. Brown was denied access to the medications prescribed by Valley Medical
20
     Center and was otherwise denied him access to reasonable and appropriate medical care. He was
21
     also not provided with food he could eat due to his lack of teeth.
22

23          1.4     Due to the Kent City Jail’s negligence in maintaining this isolation cell in a

24   sanitary condition, and their deliberate indifference to Mr. Brown’s medical needs, Mr. Brown

25   developed a serious staph infection on his hip which presented itself as multiple hip abscesses.
26
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 1   The abscesses progressed as the days went by and began to smell like rotting flesh. It would have

 2   been obvious to any lay person looking at the abscess that Mr. Brown required immediate
 3
     medical attention. Mr. Brown repeatedly informed staff at the Kent City Jail of his medical
 4
     condition, but defendants took no immediate action to address his obvious medical needs.
 5
            1.5     Defendants continued to deprive Mr. Brown of reasonable medical care through at
 6
     least December 1, 2018. When Dale Brown’s daughter and granddaughter visited him on that
 7

 8   date, they observed him as being obviously ill and in pain. One of the abscesses on his hips was

 9   at least the size of a grapefruit and was surrounded by swollen bright red tissue indicating the
10   presence of a serious infection.
11
            1.6     After this visit, still on December 1, 2018, both of Dale Brown’s daughters called
12
     the Kent City Jail, spoke with Defendant Ward, and explained her concerns that Dale Brown was
13
     not receiving adequate medical care for what was clearly a serious infection. Acting with
14

15   deliberate indifference to Dale Brown’s medical needs, Defendant Ward refused to take action to

16   provide Dale Brown with medical care. Instead, during the second phone call, he yelled to the

17   effect of “What is it that you want from me?” and “I’m not going to do this with you” before
18   hanging up the phone call. The Kent City Jail did not schedule a medical doctor to evaluate Dale
19
     Brown’s condition until approximately December 5, 2018.
20
            1.7     During the scheduled medical examination on December 5, 2018, the medical
21
     doctor immediately recommended that Dale Brown be transferred to the Emergency Department
22

23   at Valley Medical Center for further evaluation and treatment. He was subsequently diagnosed

24   with MRSA Due to the delay Kent City Jail caused in providing Dale Brown with access to

25   appropriate and reasonable medical care, Mr. Brown was diagnosed with sepsis due to his staph
26
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 1   infection and required substantial care at Valley Medical Center including but not limited to

 2   surgery. He was not discharged from Valley Medical Center until December 17, 2018 when he
 3
     was sent back to the Kent City Jail.
 4
            1.8     Over the next six days, and with full knowledge of Dale Brown’s substantial
 5
     medical needs, the Kent City Jail failed to provide him with reasonable medical accommodations
 6
     and continued to act with deliberate indifference to Dale Brown’s medical needs.
 7

 8          1.9     On December 23, 2018, Dale Brown was rushed back to the Valley Medical

 9   Center due to an acute renal injury which resulted either from Dale Brown’s fall, the staph
10   infection he contracted and medication he required due to Kent City Jail’s unsanitary conditions
11
     in its infirmary, and/or from Kent City Jail’s failure to provide him with adequate medical care
12
     when he returned to Kent City Jail on December 17, 2018. He remained at Valley Medical
13
     Center until December 25, 2018 and has continued to suffer from the lasting impacts of these
14

15   injuries and conditions thereafter.

16                         II.     PARTIES, JURISDICTION, AND VENUE

17          2.1     Plaintiff DALE BROWN resides in Kent, King County, Washington.
18          2.2     Defendant CITY OF KENT is a municipal corporation located in King County,
19
     Washington.
20
            2.3     Defendant D. MCCUISTION is an individual believed to be residing in King
21
     County, Washington. At all times relevant hereto, Defendant D. MCCUISTION was the
22

23   Commander of the Kent City Jail and was acting within the course and scope of his employment

24   with Defendant City of Kent. All acts and omissions of D. MCCUISTION were done under color

25   of law and under the authority of his position as the Commander of the Kent City Jail.
26
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 1           2.4     Defendant WARD is an individual believed to be residing in King County,

 2   Washington. At all times relevant hereto, Defendant WARD was a Sergeant at the Kent City Jail
 3
     and was acting within the course and scope of his employment with Defendant City of Kent. All
 4
     acts and omissions of Defendant WARD were done under color of law and under the authority of
 5
     his position as a Sergeant at the Kent City Jail.
 6
             2.5     Plaintiff anticipates that there will be other individual defendants, not currently
 7

 8   known by name, who were employed by and/or were agents of the City of Kent and who bear

 9   liability for the allegations herein. Because plaintiff does not currently know the names of all
10   such individuals, they are identified in this complaint as John/Jane Does 1-XX, and plaintiff may
11
     seek to amend this complaint to add them as individual defendants as discovery and investigation
12
     progress. All acts and omissions of John/Jane Does 1-XX were done within the course and scope
13
     of their employment, under color of law, and under the authority of their positions as officers and
14

15   employees at the Kent City Jail.

16           2.6     This court has jurisdiction over the subject matter and the parties.

17                                                 III. CLAIMS
18           3.1     Under Washington law, Defendants CITY OF KENT and its employees,
19
     departments, agents, and contractors, owe a special duty to provide for the health, welfare, and
20
     safety of its inmates, including plaintiff Dale Brown. Gregoire v. City of Oak Harbor, 244 P. 3d
21
     924, 170 Wash.2d 628 (2010). This special duty includes but is not limited to a responsibility
22

23   provide reasonable medical accommodations to the City of Kent’s inmates to avoid unreasonable

24   risk of injury. It further includes a responsibility to maintain the jail in a sanitary condition.

25           3.2     Pursuant to the Americans with Disability Act, the Defendants owed a duty to
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 1   Dale Brown to provide him with reasonable medical accommodations for his pre-existing spinal

 2   injuries.
 3
              3.3     Defendants breached these duties owed to Dale Brown by failing to provide him
 4
     with a bottom bunk and by otherwise failing to provide him with reasonable medical
 5
     accommodations.
 6
              3.4     Dale Brown fell from his top bunk and sustained personal injuries as a result of
 7

 8   defendants breaches outlined in Paragraph 3.3.

 9            3.5     As a result of this fall, Dale Brown was placed in the Kent City Jail’s “Infirmary.”
10            3.6     Due to being placed in the “Infirmary”, and due to the Defendant’s unreasonable
11
     and negligent failure to maintain this “Infirmary” in a sanitary condition, Dale Brown contracted
12
     a staph infection.
13
              3.7     Under the Eighth Amendment to the U.S. Constitution, Defendants CITY OF
14

15   KENT and its employees, departments, agents, and contractors, have a duty to provide adequate

16   medical care to the City’s inmates and cannot act with deliberate indifference to their inmates

17   medical needs.
18            3.8     For more than a week, Defendants in fact acted with deliberate indifference to
19
     Dale Brown’s staph infection and other injuries, causing them to significantly progress beyond
20
     their normal course.
21
              3.9     Plaintiff hereby brings all applicable claims available to him under 42 U.S.C. §
22

23   1983.

24            3.10    Upon information and belief, defendants may also be liable under the doctrines of

25   negligent hiring, negligent training, and/or negligent supervision of their employees and agents
26
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 1   who failed to provide reasonable medical accommodations, failed to exercise reasonable care,

 2   and acted with deliberate indifference Dale Brown’s medical needs.
 3
             3.11    Dale Brown endured significant pain and suffering and required extensive
 4
     reasonable and necessary medical treatment as a result of Defendants breaches.
 5

 6                                             IV. DAMAGES
 7
             4.1     As a collective result of Defendants’ acts and omissions, plaintiff Dale Brown
 8
     sustained various personal injuries, including but not necessarily limited to, a head injury, a
 9
     seizure, a staph infection, sepsis, and an acute kidney injury.
10

11           4.2     Plaintiff Dale Brown’s related injuries required necessary medical treatment.

12           4.3     Due to these injuries, plaintiff Dale Brown experienced mental and physical pain

13   and suffering and other non-economic damages and with reasonable probability will continue to

14   so suffer into the future.

15           4.4     Due to these injuries, plaintiff Dale Brown incurred reasonable and necessary

16   medical expenses, out-of-pocket expenses, and other economic damages.

17           4.5     Defendants are jointly liable for plaintiff’s injuries and damages.

18                                V.    LIMITED MEDICAL WAIVERS

19           5.1     Plaintiff, pursuant to RCW 5.60.060, as amended by the laws of 1986, hereby

20   grants limited waiver of the physician-patient privilege. The scope of this waiver is as follows:

21    A.      This waiver shall take effect regarding this lawsuit for personal injuries on the 89th day

22            from the date the action was filed;

23    B.      This waiver shall be subject to such limitations as the Court may impose. This waiver
24            shall at all times be limited by an order entered in connection therewith by the King
25
              County Superior Court; and
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 1    C.        This waiver shall only apply to the privilege that exists under RCW 5.60.060 and shall

 2              not be deemed to be broader in its scope or apply to physician-patient privileges nor
 3
                governed by RCW 5.60.060. Constitutional rights of privacy, impairment or
 4
                interference with the doctor/patient relationship, and other rights not governed by RCW
 5
                5.60.060 regarding physician-patient relationships are not waived. This waiver is made
 6
                solely to comply with the legal obligation required by the 1986 amendment to RCW
 7

 8              5.60.060 requiring such waiver within 90 days of the filing of an action for personal

 9              injuries.
10

11
                                                VI.     RELIEF
12
               WHEREFORE, plaintiff prays for judgment against defendant as follows:
13
               6.1    Special Damages. For judgment in the amount of plaintiff’s special damages
14
     in the form of past, present and future medical expenses and/or other economic damages.
15
               6.2    General Damages. For non-economic damages including but not limited to
16   disability, pain and suffering, and loss of enjoyment of life, in an amount proven at the time of
17   trial.
18             6.3    Interest. For pre-judgment interest at the statutory rate on all items of special
19   damages including, but not limited to, expenses of medical care, treatment and past wage loss.
20             6.4    Attorneys’ Fees. For an award of attorneys’ fees as authorized by Washington
21   law.
22             6.5    Further relief. For such further relief as seems just to the Court and/or the jury.
23             6.6    Permission to Amend. For permission to amend pleadings to conform to the
24   proof offered during discovery or at the time of trial.
25

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 1   DATED this _30th_ day of November 2020.   DAVID S. ROTH, P.S. dba
                                               LAW OFFICES OF DAVID S. ROTH
 2

 3                                             /s/ Gavin L. Davis____________________
                                               Gavin L. Davis, WSBA #47278
 4                                             David S. Roth, WSBA #12812
                                               Attorney for plaintiff
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